          Case 1:21-cv-00215-AJ Document 5 Filed 03/25/21 Page 1 of 17




                            THE STATE OF NEW HAMPSHIRE
                                  SUPERIOR COURT
                                ROCKINGHAM COUNTY


       I, Jennifer M. Haggar, Clerk of the Superior Court of the State of New Hampshire

for the County of Rockingham, the same being a court of record having a seal, and having

custody of the records of the said Superior Court, do hereby certify that the attached are

true copies of Complaint, Summons on Complaint, Return of Service, Answer and

Notice of Removal to Federal Dist. Ct. in the action 218-2021-CV-00003 Gail P Garda v.

Kohl's Inc. of said Superior Court.




                                                In witness whereof I have hereunto set my hand
                                                    and affixed the seal of said Superior Court at

                                                                 this 22 day of March A.D. 2021




                                                                                  Clerk of Superior Court




                         This is a Service Document For Case: 218-2021-CV-00003
                                        Rockingham Superior Court
                                            3/23/2021 10:26 AM
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                      Case 1:21-cv-00215-AJ Document 5 Filed 03/25/21 Page 2 of 17                            Rockingham Superior Court
        True Copy Attest                                                                                                E-Filed Document
                                      THE STATE OF NEW HAMPSHIRE
                                                        JUDICIAL BRANCH
       Jennifer M. Haggar, Clerk of Court             http://www.courts.state.nh.us
               March 22, 2021
Court Name:             Rockingham Superior Court
Case Name:             Gail P. Garda vs. Kohl's Inc. 325 Lafayette Rd. Seabrook, NH
                       218-2021-CV-00003
Case Number:
 (if known)
                                                            COMPLAINT
                            Requested:          ✔ Jury Trial (as allowed by law)                Bench Trial
1. Plaintiff’s Name Gail P. Garda
   Residence Address 34 Old Stage Road, Hampton Falls, NH 03844
    Mailing Address (if different)
    Telephone Number (Home) (603) 926-0457                                         (Mobile) (603) 303-6038


2. Defendant’s Name Kohl's Inc.
   Residence Address 325 Lafayette Rd., Seabrook, NH 03874
    Mailing Address (if different) 3 Executive Park Drive 9, Bedford, NH 03110 (by Registered Agent)


3. First thing that happened (in one sentence):
    On or about January 3, 2018, your Plaintiff enjoyed the legal status of business invitee in, on, or about
    the premises owned, operated and managed by your Defendant, its agents and employees and at said
    time and place your Plaintiff was caused to lose her footing, falling to the ground with great force
    causing serious and permanent personal and other economic and otherwise compensable injuries.



4. Second thing that happened (in one sentence):
    Upon falling and sustaining serious and permanent personal and other economic and otherwise
    compensable injuries, the agents and/or employees of your Defendant were not properly trained
    and/or supervised and therefore did not attend to your Plaintiff and her injuries in a prompt and
    proper manner, nor did they appreciate your Plaintiff as a business invitee and their duty to such by
    failing to continuously inspect and remedy any and all hazardous conditions existing in, on, or about
    the said premises.

5. Third thing that happened (in one sentence):
    The Plaintiff, through no fault of her own, was caused to suffer serious and permanent personal and
    other economic and otherwise compensable injuries when the Defendant, its agents and employees
    failed to provide her and other business invitees with a safe environment that was to the direct
    pecuniary benefit of your said Defendant(s), therefore, the breach of various legal duty(s) caused by
    the Defendant, its agents and employees are the direct and proximate cause of the serious, permanent
    personal and other economic and otherwise compensable injuries sustained by your Plaintiff.

Continue on using separately numbered paragraphs (attach additional sheets if necessary).
NHJB-2688-Se (07/01/2018)                                         Page 1 of 2
                                            This is a Service Document For Case: 218-2021-CV-00003
                                                           Rockingham Superior Court
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                Case
Case Name: Gail P.    1:21-cv-00215-AJ
                   Garda vs. Kohl's Inc. 325Document
                                             Lafayette 5Rd.Filed 03/25/21
                                                            Seabrook, NH                   Page 3 of 17
Case Number:
COMPLAINT
For the reasons stated in this Complaint, I request that the Court issue the following orders:
A. Describe the orders you want the Court to make:
Wherefore, the Plaintiff respectfully requests the Honorable Court find that as a direct and proximate
cause of the Defendants' negligence and the negligence of its agents and employees, she was caused to
suffer serious and permanent personal and other economic and otherwise compensable injuries and is
therefore entitled to compensatory and all other applicable damages at law; and for any other relief this
Honorable Court deems necessary, proper, and just.




B. All other relief the Court deems fair and just.

Gail Garda by and through                                             /s/ Shawn R. Crapo
Name of Filer                                                         Signature of Filer                  Date
Shawn R. Crapo, Esquire          272502                               (603) 964-0003
Law Firm, if applicable          Bar ID # of attorney                 Telephone
Crapo Law Offices, PLLC                                               Shawn@CrapoLaw.com
Address                                                               E-mail
Rye Beach                      NH             03871
City                          State         Zip code




NHJB-2688-Se (07/01/2018)                               Page 2 of 2
                Case
         True Copy   1:21-cv-00215-AJ Document 5 Filed 03/25/21 Page 4 of 17
                   Attest
                                     THE STATE OF NEW HAMPSHIRE
        Jennifer M. Haggar, Clerk of Court              JUDICIAL BRANCH
                March 22, 2021                            SUPERIOR COURT
Rockingham Superior Court                                                                                 Telephone: 1-855-212-1234
Rockingham Cty Courthouse/PO Box 1258                                                                 TTY/TDD Relay: (800) 735-2964
Kingston NH 03848-1258                                                                                   http://www.courts.state.nh.us


                                              SUMMONS IN A CIVIL ACTION



Case Name:              Gail P Garda v Kohl's Inc.
Case Number:            218-2021-CV-00003

Date Complaint Filed: January 01, 2021
A Complaint has been filed against Kohl's Inc. in this Court. A copy of the Complaint is attached.

The Court ORDERS that ON OR BEFORE:
February 20, 2021     Gail P Garda shall have this Summons and the attached Complaint served
                      upon Kohl's Inc. by in hand or by leaving a copy at his/her abode, or by
                      such other service as is allowed by law.
March 13, 2021                        Gail P Garda shall electronically file the return(s) of service with this Court.
                                      Failure to do so may result in this action being dismissed without further
                                      notice.
30 days after Defendant               Kohl's Inc. must electronically file an Appearance and Answer or other
is served                             responsive pleading form with this Court. A copy of the Appearance and
                                      Answer or other responsive pleading must be sent electronically to the
                                      party/parties listed below.

Notice to Kohl's Inc.: If you do not comply with these requirements you will be considered in default
and the Court may issue orders that affect you without your input.
Send copies to:
 Shawn R Crapo, ESQ                                   Crapo Law Offices PLLC d/b/a The Law Offices of Shawn R
                                                      Crapo PO Box 491 Rye Beach NH 03871
  Kohl's Inc.                                         325 Lafayette Rd Seabrook NH 03874
                                                                            BY ORDER OF THE COURT

January 06, 2021                                                            Jennifer M. Haggar
                                                                            Clerk of Court
(126987)




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                               THE STATE OF NEW HAMPSHIRE
                                          JUDICIAL BRANCH
                                            SUPERIOR COURT
Rockingham Superior Court                                                           Telephone: 1-855-212-1234
Rockingham Cty Courthouse/PO Box 1258                                           TTY/TDD Relay: (800) 735-2964
Kingston NH 03848-1258                                                             http://www.courts.state.nh.us


                                         GAIL P GARDA
                                  INSTRUCTIONS FOR SERVICE
                                 BY THE SHERIFF’S DEPARTMENT


Case Name:             Gail P Garda v Kohl's Inc.
Case Number:           218-2021-CV-00003
Instructions for: Gail P Garda
The attached Summons must be sent to the Sheriff’s Department for service. Service must be completed
on or before February 20, 2021.
Further action is required by you
You must:
   Print two copies of the Summons per defendant
   Print two copies of the Notice to Defendant per defendant
   Print two copies of the Complaint filed with the Court per defendant
   Make two packets for service. Each packet should contain:
             o One Summons
             o Once Notice for Defendant
             o One Complaint filed with the Court
   Mail or hand deliver the packets to the Sheriff’s Department in the county where each
      defendant resides.
Sheriff Departments in New Hampshire:
Belknap County Sheriff’s Department:         Hillsborough County Sheriff’s Department:
Carroll County Sheriff’s Department:         Merrimack County Sheriff’s Department:
Cheshire County Sheriff’s Department:        Rockingham County Sheriff’s Department:
Coos County Sheriff’s Department:            Strafford County Sheriff’s Department:
Grafton County Sheriff’s Department:         Sullivan County Sheriff’s Department:

*If one or more of the parties resides out of state, please click here for the requirements*
Service must be made upon the defendant before February 20, 2021.

If the Sheriff is unable to complete service by February 20, 2021 you will receive a “Notice of Incomplete
Service” from the Sheriff’s Department. You may request that new paperwork be issued by electronically
filing a Request for Documents. There is a fee for this request.

The Sheriff will mail the ‘Return of Service’ to you. You MUST electronically file the ‘Return of Service’
with the court by March 13, 2021.

If service is not made as directed, no further action will occur and the case may be dismissed by
the court.


NHJB-2678-Se (07/01/2018)
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                   Important Service Information for Sheriff
                                        Do not file this with the court
                            Provide this information to the Sheriff’s Department.
                             See Instructions for Service for more information.
                                              PLEASE PRINT CLEARLY
Date:                                                     Case #:
Who are you requesting to be served?
Please provide whatever information you know
Name:
Address for service (no P.O. boxes):
                                                                 APT #:


Home phone #:                                      Cell phone #:
Sex:       Male             Female                 Race:
Last 4 digits of SS#: xxx-xx-                                                    D.O.B.
Work name & address:


Special instructions for service (i.e. directions, best time to serve, cautions, etc.):



Vehicle description/license plate:


Your Information:
Name (please print):
Residential address:                                             Mailing address:



Phone number to contact you during business hours:
                                           Alternate #:


                                                                 Signature

          ♦IN-HAND SERVICE WILL INCUR EXTRA COSTS DUE TO ADDITIONAL TRAVEL♦

SHERIFF OFFICE USE ONLY: (This will vary by Sheriff’s Office)
Fees Paid: $                         Cash #:                    Check#:
Id#:             Waiver:               Money Order#:                            Credit Card:
Sheriff File #                                                            Authorization #:


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Instructions for filing the Return of Service:
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court’s website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.

    1. Select “I am filing into an existing case”. Enter 218-2021-CV-00003 and click Next.
    2. When you find the case, click on the link follow the instructions on the screen. On the “What
       would you like to file?” screen, select “File Other Document” and choose “Return of Service”.
    3. Scan the Return of Service packet and follow the instructions in the electronic filing program to
       upload the Return of Service to complete your filing.
    4. If the sheriff was unable to serve the paperwork, you can request new paperwork by filing a
       Request for Documents. On the “What would you like to file?” screen, select “File Other
       Document” and choose “Request for Reissued Summons” from the menu and upload the
       Request for Documents form.


FAILURE TO FILE THESE DOCUMENTS MAY RESULT IN YOUR CASE BEING DISMISSED.

January 06, 2021                                        Jennifer M. Haggar
Date                                                    Clerk of Court

You can access documents electronically filed through our Case Access Portal by going to
https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In that process you
will register, validate your email, request access and approval to view your case. After your
information is validated by the court, you will be able to view case information and documents filed in
your case.




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                               THE STATE OF NEW HAMPSHIRE
                                           JUDICIAL BRANCH
                                             SUPERIOR COURT
Rockingham Superior Court                                                        Telephone: 1-855-212-1234
Rockingham Cty Courthouse/PO Box 1258                                        TTY/TDD Relay: (800) 735-2964
Kingston NH 03848-1258                                                          http://www.courts.state.nh.us


                                       NOTICE TO DEFENDANT
Case Name:                  Gail P Garda v Kohl's Inc.
Case Number:                218-2021-CV-00003
You have been served with a Complaint which serves as notice that this legal action has been filed
against you in the Rockingham Superior Court. Review the Complaint to see the basis for the
Plaintiff’s claim.
Each Defendant is required to electronically file an Appearance and Answer 30 days after service.
You may register and respond on any private or public computer. For your convenience, there is also
a computer available in the courthouse lobby.
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court’s website: www.courts.state.nh.us, select the
Electronic Services icon and then select the option for a self-represented party.
       1. Complete the registration/log in process. Click Register and follow the prompts.
        2. After you register, click Start Now. Select Rockingham Superior Court as the location.
        3. Select “I am filing into an existing case”. Enter 218-2021-CV-00003 and click Next.
        4. When you find the case, click on the link and follow the instructions on the screen. On the
           “What would you like to file?” screen, select “File a Response to Civil Complaint”. Follow
           the instructions to complete your filing.
        5. Review your Response before submitting it to the court.

IMPORTANT: After receiving your response and other filings the court will send notifications and
court orders electronically to the email address you provide.
A person who is filing or defending against a Civil Complaint will want to be familiar with the Rules of
the Superior Court, which are available on the court’s website: www.courts.state.nh.us.
Once you have registered and responded to the summons, you can access documents electronically
filed by going to https://odypa.nhecourt.us/portal and following the instructions in the User Guide. In
that process you will register, validate your email, request access and approval to view your case.
After your information is validated by the court, you will be able to view case information and
documents filed in your case.


If you have questions regarding this process, please contact the court at 1-855-212-1234.




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                                                                                                            Rockingham Superior Court
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Jennifer M. Haggar, Clerk of Court
        March 22, 2021

                                              THE STATE OF NEW HAMPSHIRE

            ROCKINGHAM, ss.                                                                        SUPERIOR COURT


                                                 Docket No. 218-2021-cv-00003

                                                         GAIL P. GARDA,
                                                               Plaintiff,

                                                                   v.

                                                           KOHL’S INC.,
                                                              Defendant.


                               ANSWER, AFFIRMATIVE DEFENSES AND JURY DEMAND


            Kohl’s Inc., (“Kohl’s” or “Defendant”) respectfully submits the following Answer, Affirmative

            Defenses, and Jury Demand, stating in support as follows:

            I.        ANSWER

                      1.        Without knowledge. The phrase “without knowledge” means that Defendant (1)

            lacks sufficient knowledge to form a belief as to the truth or accuracy of the allegation, (2)

            therefore, denies such claim, and (3) leaves Plaintiff to her proof.

                      2.        Kohl’s admits that it has a location a 325 Lafayette Road, Seabrook, NH and that

            its registered agent is Corporate Creations Network, Inc., with an office at 3 Executive Park Drive

            9, Bedford, NH 03110.

                      3.        Without knowledge.

                      4.        Denied.

                      5.        Denied.

                      A.        Denied.

                      WHEREFORE, Kohl’s denies that Plaintiff is entitled to judgment in any amount.


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II.       AFFIRMATIVE DEFENSES

                                         FIRST DEFENSE

Plaintiff’s Complaint fails to state a claim upon within relief can be granted against Defendant.

                                       SECOND DEFENSE

Defendant denies all allegations of liability contained in Plaintiff’s Complaint.

                                        THIRD DEFENSE

Defendant’s conduct was not a legal and/or proximate cause of Plaintiff’s alleged damages, if any.

                                       FOURTH DEFENSE

Plaintiff’s alleged damages were caused, in whole or in part, by the acts or omissions of persons

or entities for whom Defendant is not legally responsible; Defendant reserves the right to seek an

apportionment of liability in accordance with N.H. RSA 507:7-e and DeBenedetto v. CLD

Consulting Engineers, Inc., 153 N.H. 793 (2006).

                                        FIFTH DEFENSE

Plaintiff’s claims are barred, in whole or in part, by her own comparative negligence, pursuant to

N.H. RSA 507:7-d.

                                        SIXTH DEFENSE

Plaintiff has failed to mitigate her damages.

                                      SEVENTH DEFENSE

Plaintiff’s alleged injuries were proximately caused by the superseding and/or intervening conduct

or negligent acts of third persons over whom Defendant has no control.

                                       EIGHTH DEFENSE

Plaintiff’s claims are barred by one or more statutes of limitation.




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1911122
           Case 1:21-cv-00215-AJ Document 5 Filed 03/25/21 Page 11 of 17




                                        NINTH DEFENSE

Defendant is responsible only for reasonable medical expenses actually incurred, if any at all, and

is not responsible for any amounts forgiven or written off by the provider.

                                        TENTH DEFENSE

Defendant challenges any and all medical expenses in accordance with New Hampshire Superior

Court Rules.

                                     ELEVENTH DEFENSE

Defendant reserves the right to add additional affirmative defenses as are reasonable and necessary

as discovery progresses.

III.      JURY DEMAND

Defendant demands a trial by jury as to all issues properly triable by jury and, pursuant to Superior

Court Rule, objects to a trial with fewer than 12 jurors.

                                                Respectfully submitted,
                                                Kohl’s Inc.
                                                MORRISON MAHONEY LLP
Dated: March 10, 2021

                                            By: /s/ Linda M. Smith
                                                 Linda M. Smith, #265038
                                                 lsmith@morrisonmahoney.com
                                                 1001 Elm Street, Suite 304
                                                 Manchester, NH 03101
                                                 Phone: 603-622-3400
                                                 Fax:     603-622-3466

                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was this day forwarded to:

Shawn R. Crapo, #272502
Carpo Law Offices, PLLC
P. O. Box 491
Rye Beach, NH 03871
                                                      /s/ Linda M. Smith
                                                               Linda M. Smith

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Jennifer M. Haggar, Clerk of Court
        March 22, 2021
                                            THE STATE OF NEW HAMPSHIRE

            ROCKINGHAM, ss.                                                                      SUPERIOR COURT

                                               Docket No. 218-2021-cv-00003

                                                       GAIL P. GARDA,
                                                             Plaintiff,

                                                                 v.

                                                         KOHL’S INC.,
                                                            Defendant.

                                     NOTICE TO REMOVE FROM STATE COURT

                      Defendant, Kohl’s Inc., hereby gives notice that it has removed this matter to the United

            States District Court, a copy of the notice of removal is included herewith.

                      Please prepare a certified copy of the Court’s docket and provide it to defendant’s counsel

            with an invoice.

                                                                 Respectfully submitted,
                                                                 Kohl’s Inc.
                                                                 MORRISON MAHONEY LLP
            Dated: March 10, 2021
                                                                 /s/ Linda M. Smith
                                                           By:
                                                                 Linda M. Smith, #265038
                                                                 lsmith@morrisonmahoney.com
                                                                 1001 Elm Street, Suite 304
                                                                 Manchester, NH 03101
                                                                 Phone: 603-622-3400
                                                                 Fax:     603-622-3466

                                               CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing was this day forwarded to:

            Shawn R. Crapo, #272502
            Carpo Law Offices, PLLC
            P. O. Box 491
            Rye Beach, NH 03871
                                                                       /s/ Linda M. Smith
                                                                                Linda M. Smith


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                                     True Copy Attest


                                    Jennifer M. Haggar, Clerk of Court
                                            March 22, 2021




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